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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                :
UNITED STATES OF AMERICA                        :       Case No.: 22-CR-207 (CRC)
                                                :
          v.                                    :       40 U.S.C. § 5104(e)(2)(G)
                                                :
MATTHEW BOKOSKI,                                :
                                                :
          Defendant.                            :
                                                :

                                   STATEMENT OF OFFENSE

          Pursuant to Fed. R. Crim. P. 11, the United States of America, by and through its attorney,

the United States Attorney for the District of Columbia, and the defendant, Matthew Bokoski, with

the concurrence of his attorney, agree and stipulate to the below factual basis for the defendant’s

guilty plea—that is, if this case were to proceed to trial, the parties stipulate that the United States

could prove the below facts beyond a reasonable doubt:

                          The Attack at the U.S. Capitol on January 6, 2021

          1.       The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol

include permanent and temporary security barriers and posts manned by USCP. Only authorized

people with appropriate identification are allowed access inside the Capitol.

          2.       On January 6, 2021, the exterior plaza of the Capitol was closed to members of the

public.

          3.       On January 6, 2021, a joint session of the United States Congress convened at the

Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected

members of the United States House of Representatives and the United States Senate were meeting

in the Capitol to certify the vote count of the Electoral College of the 2020 Presidential Election,

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which had taken place on Tuesday, November 3, 2020. The joint session began at approximately

1:00 PM. Shortly thereafter, by approximately 1:30 PM, the House and Senate adjourned to

separate chambers to resolve a particular objection. Vice President Mike Pence was present and

presiding, first in the joint session, and then in the Senate chamber.

        4.       As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.

Temporary and permanent barricades, as noted above, were in place around the exterior of the

Capitol, and USCP officers were present and attempting to keep the crowd away from the Capitol

and the proceedings underway inside.

        5.       At approximately 2:00 PM, certain individuals in the crowd forced their way

through, up, and over the barricades. Officers of the USCP were forced to retreat and the crowd

advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter or

remain in the building and, prior to entering the building, no members of the crowd submitted to

security screenings or weapons checks as required by USCP officers or other authorized security

officials.

        6.       At such time, the certification proceedings were still underway, and the exterior

doors and windows of the Capitol were locked or otherwise secured. Members of the USCP

attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after

2:00 PM, individuals in the crowd forced entry into the Capitol, including by breaking windows

and by assaulting members of law enforcement, as others in the crowd encouraged and assisted

those acts. The riot resulted in substantial damage to the Capitol, requiring the expenditure of more

than $2.7 million dollars for repairs.




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       7.       Shortly thereafter, at approximately 2:20 PM, members of the House of

Representatives and of the Senate, including the President of the Senate, Vice President Pence,

were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the United

States Congress, including the joint session, were effectively suspended until shortly after 8:00

PM on January 6, 2021. In light of the dangerous circumstances caused by the unlawful entry to

the Capitol—including the danger posed by individuals who had entered the Capitol without any

security screening or weapons check—Congressional proceedings could not resume until after

every unauthorized occupant had been removed from or left the Capitol, and USCP confirmed that

the building was secured. The proceedings resumed at approximately 8:00 PM after the building

had been secured. Vice President Pence remained in the Capitol from the time he was evacuated

from the Senate Chamber until the session resumed.


              Matthew Bokoski’s Participation in the January 6, 2021, Capitol Riot

       8.       The defendant, Matthew Bokoski, lives in Chicago, Illinois. On January 5, 2021,

defendant traveled from Chicago to Washington, D.C., via plane. The purpose of the defendant’s

trip to Washington, D.C., was to attend the Stop the Steal rally on the Ellipse.

       9.       Once he arrived in Washington, D.C., Defendant met up with his father who had

traveled to Washington, D.C. from Nevada to attend the protest.

       10.      On the morning of January 6, the defendant and his father went to the National Mall

and attended the “Stop the Steal” rally where they joined a large crowd of demonstrators.

Afterward, defendant and his father walked towards the United States Capitol building.

       11.      Once they reached the Capitol, defendant and his father joined a large crowd,

gathered on restricted grounds, on the West side of the Capitol building. While there, defendant




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took photos of police lines and protestors climbing on the scaffolding that had been set up near the

inaugural stage.

       12.     Defendant and his father moved with the crowd to the Upper West Terrace where

a large group of protestors had gathered near the Senate Wing Doors and the Senate

Parliamentarian door.

       13.     According to security footage, rioters breached the Senate Parliamentarian door at

approximately 2:42 PM. Approximately five minutes later, defendant and his father entered the

Capitol Building through the Senate Parliamentarian door at 2:47 PM.

       14.     As he entered the Capitol building, defendant used his phone to take video which

he posted to his Facebook account. One video clip showed rioters inside the private office of the

Senate Parliamentarian.

       15.     While inside the U.S. Capitol, defendant advanced with a crowd down a hallway.

After the crowd encountered a police line, defendant and his father exited the building through the

Senate Parliamentarian door at approximately 2:52 p.m. Defendant was inside the U.S. Capitol

building for approximately 4-5 minutes.

       16.     Later that day, defendant posted a comment describing the events of the day in

which he stated: “I was with my dad and walked right up the capital steps and inside with others.”

       17.     Following the events of January 6, defendant was interviewed by the FBI, and

Bokoski told the interviewing agents that the January 6, 2021 rally was effective because the

participants were able to “shut down” the government.




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                                    Elements of the Offense

       18.    Matthew Bokoski knowingly and voluntarily admits to all the elements of 40 U.S.C.

§ 5104(e)(2)(G).    Specifically, defendant admits that he willfully and knowingly paraded,

demonstrated, or picketed inside the United States Capitol Building.

                                                    Respectfully submitted,

                                                    MATTHEW M. GRAVES
                                                    United States Attorney
                                                    D.C. Bar No. 481052


                                            By:     /s/ Jason M. Crawford
                                                    Jason Crawford
                                                    Trial Attorney
                                                    D.C. Bar No. 1015493




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